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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Hadi Abuatelah
                              Plaintiff,
v.                                                  Case No.: 1:22−cv−03998
                                                    Honorable Georgia N Alexakis
Officer One, et al.
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 12, 2025:


         MINUTE entry before the Honorable Albert Berry, III: Parties should confer and
submit a joint report detailing the status of the case not later than 5/19/25. The previous
status date of 5/27/25 shall stand. [107]. Instructions will be emailed to counsel. Please
note the new call−in information. Members of the public and media will be able to call in
to listen to this hearing. Call (855)−244−8681, access code 2316 863 7794# . Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Emailed notice (yt)




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